                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

                                     DOCKET NO. 1:06CR13

UNITED STATES OF AMERICA,                    )
                                             )
               v.                            )             ORDER DISMISSING
                                             )              FORFEITURE OF
1) SHAFEEQ AMEER MALIK                       )
MUHAMMAD                                     )     CHECKING ACCOUNT NUMBER
      A/K/A “Sam Wright”                     )    126128137, FIRST CHARTER BANK,
2) CHADMIKO JAVON STALEY                     )    FOREST CITY, NORTH CAROLINA
      A/K/A “Chad”                           )
3) MICHAEL DWAYNE STALEY                     )
      A/K/A “Diesel”                         )
                                             )
               Defendants.                   )



       THIS MATTER is before the Court on the Government’s motion to dismiss the Notice

of Forfeiture in the indictment of

               Checking account number 126128137, First Charter Bank, Forest City,
               North Carolina

       For cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion to dismiss is

ALLOWED and the Court hereby DISMISSES WITH PREJUDICE the Notice of Forfeiture

in the bill of indictment of


               Checking account number 126128137, First Charter Bank, Forest City,
               North Carolina.




     Case 1:06-cr-00013-MR-WCM            Document 84   Filed 11/29/07   Page 1 of 2
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                                Signed: November 29, 2007




Case 1:06-cr-00013-MR-WCM   Document 84    Filed 11/29/07   Page 2 of 2
